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                DeARCYHALLJ.                            ★ JUN 25 2019 -A-
UNITED STATES DISTRICT COURT                           BROOKLYN OFFICE
EASTERN DISTRICT OF NEW YORK

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In re Application of Doosan Heavy Industries            Indi
and Construction Co., Ltd. for an Order
Directing Discovery from Liberty Maritime
Corporation Pursuant to 28 U.S.C.§ 1782                 Ex Parte Petition for Assistance in Aid
                                                        of a Foreign Proceeding Pursuant to 28
                                                        U.S.C.§ 1782




       Petitioner Doosan Heavy Industries and Construction Co., Ltd.("Petitioner" or "Doosan")

hereby petitions this Court pursuant to 28 U.S.C. § 1782 for assistance in connection with foreign

legal proceedings.

        Petitioner seeks an order authorizing the issuance of subpoenas to Liberty Maritime

Corporation("Liberty Maritime"),a corporation that maintains its headquarters and principal place

of business in this district and that has engaged in shipping related activity in a port operated by

Kuwait Gulf Link International for Ports, Warehousing and Transport KSCC ("KGLPI"),

requesting documents and a deposition witness concerning its business relationship with KGLPI.

Such discovery is sought in aid of proceedings that have been commenced in Egypt.

        As explained in Petitioner's memorandum oflaw,filed simultaneously herewith.Petitioner

is entitled to the relief sought because each of the statutory prerequisites to order discovery in aid

ofthe foreign proceedings is satisfied: (1)Petitioner is an "interested person" within the meaning
of 28 U.S.C. § 1782 and is entitled to seek assistance thereunder;(2) the discovery sought is for
use in foreign judicial proceedings, any of which would properly be considered a "proceeding
before a foreign or international tribunal; and (3) Liberty Maritime resides and is found in this
district.
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       WHEREFORE, Petitioner respectfully requests that the Court grant the Petition and

authorize Petitioner to issue subpoenas to Liberty Maritime in the form attached hereto as

Appendix A, and authorize Petitioner to issue additional subpoenas for the production of

documents and/or depositions of Liberty Maritime as Petitioner reasonably deems appropriate and

as are consistent with the Federal Rules of Civil Procedure.

Dated: New York, New York
       June 24,2019



                                             Respectfully submitte

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                                            (1ames E. Berger(JB 6605)
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